Case 3:20-cv-03289-BRM-ZNQ Document 10 Filed 06/03/20 Page 1 of 7 PageID: 69



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



DARLENE BAUMANN

                         Plaintiff,                        Civil Action No. 20-3289 (BRM)(ZNQ)

                         v.                                  ORDER SCHEDULING INITIAL
                                                                   CONFERENCE
PALMER ADMINISTRATIVE
SERVICES, INC.                                             ARB:      YES             NO X

                         Defendant.


        IT IS on this 3rd day of June 2020

       ORDERED, pursuant to Federal Rule of Civil Procedure 16, that a scheduling

conference be held before the Honorable Zahid N. Quraishi, on July 22, 2020 at 10:00 a.m. in

Courtroom 7 West at the United States Courthouse, Trenton, New Jersey, and it is further

       ORDERED that (1) prior to the above conference, all counsel and individuals who are

appearing on their own behalf (or “pro se”) confer on a joint discovery plan (see L. Civ. R.

26.1(b)); (2) the joint discovery plan, as well as any disputes regarding it, be electronically filed

no later than seven (7) days prior to the above conference (see L. Civ. R. 26.1(b)); (3) at the

above conference, all parties not appearing pro se shall be represented by counsel with full

authority to speak for their clients in all pretrial matters (see L. Civ. R. 16.1(a)); (4) Plaintiff(s)

notify any party who hereafter enters an appearance for the above conference and forward to

that party a copy hereof; and (5) the parties are to advise the Honorable Zahid N. Quraishi

immediately if this action has been settled or terminated, so that the above conference may be

cancelled.

                                                  1
 Case 3:20-cv-03289-BRM-ZNQ Document 10 Filed 06/03/20 Page 2 of 7 PageID: 70



        Furthermore, counsel and litigants are advised that, pursuant to Federal Rules of Civil

Procedure 26, 30, and 33, early disclosure requirements and limitations on depositions and

interrogatories will be enforced; therefore, counsel shall exchange the following information

without formal discovery requests:

                (i)     identities of individuals with knowledge of facts that support your claims

                        on defenses;

                (ii)    a copy of, or description by category and location of, documents and

                        things in the possession of counsel or the parties regarding the disputed

                        issues;

                (iii)   insurance agreements in force; and

                (iv)    statement of the basis for any damages claimed; and it is further

        ORDERED that the meeting of parties required by Federal Rules of Civil Procedure

26(f) shall take place four (4) weeks prior to the date of the initial conference; and it is further

        ORDERED that upon the entry of appearance of any new and/or additional counsel

subsequent to the date of this Order, Plaintiff’s counsel shall send a copy of this Scheduling Order

to the newly appearing attorney(s), but on any third party claim, the counsel for the third-party

plaintiff shall send a copy of this Order to the newly entering counsel for third-party defendant(s);

and it is further

        ORDERED that all parties shall confer and electronically file a Joint Discovery Plan not

less than seven (7) days prior to the above-stated conference date, as required by Local Civil Rule

26.1(b) of this Court. The conference date should appear on the caption of the Joint Discovery

Plan, which shall include, at a minimum, the following items: (1) a brief statement of the facts

underpinning the claims or defenses in the action, as well as a brief statement of the legal issues

                                                   2
 Case 3:20-cv-03289-BRM-ZNQ Document 10 Filed 06/03/20 Page 3 of 7 PageID: 71



in the case; (2) a description of all discovery conducted by the parties to date; (3) a description

of all discovery problems encountered to date, the efforts undertaken by the parties to remedy

these problems, and the parties’ suggested resolution of the problems; (4) a description of the

parties’ further discovery needs; (5) the parties’ estimate of the time needed to complete

discovery; (6) a statement regarding whether expert testimony will be necessary, and the parties’

anticipated schedule for retention of experts and submission of their reports; (7) a statement

regarding whether there should be any limitation placed upon use of any discovery device and,

if so, the reasons the limitation is sought; (8) a description of any special discovery needs of the

parties (e.g., videotape, telephone depositions, or problems with out-of-state witnesses or

documents, or discovery of digital information) (see L. Civ. R. 26(d)).

        The Court notes that a template for a Joint Discovery Plan can be found on the Court’s

website at https://www.njd.uscourts.gov/forms/proposed-discovery-plan and is attached to this

Order for the convenience of the parties; the Court recommends the parties use the JDP

template as a guide; and it is further

        ORDERED that in all patent cases where the parties cannot agree on a proposed

schedule, the Court will apply the scheduling provisions set forth in the Local Patent Rules (see

generally L. Civ. R. 9.3).

        Sanctions may be imposed pursuant to Federal Rules of Civil Procedure 16(f) if Counsel

or a pro se litigant either fails to appear at the conference or appears unprepared. Each attendant

at the conference shall be fully familiar with the file and have full authority to bind his or her

clients in all pretrial matters.

                                                             s/ Zahid N. Quraishi
                                                           _______________________________
                                                           ZAHID N. QURAISHI
                                                           UNITED STATES MAGISTRATE JUDGE
                                                 3
 Case 3:20-cv-03289-BRM-ZNQ Document 10 Filed 06/03/20 Page 4 of 7 PageID: 72




                         ALTERNATIVE DISPUTE RESOLUTION
                           IN THE UNITED STATES DISTRICT
                       COURT FOR THE DISTRICT OF NEW JERSEY

          Mediation is the Alternative Dispute Resolution (ADR) program in this Court.
Mediation is governed by Local Civil Rule 301.1. The mediation program under this rule is
supervised by a judicial officer (currently United States Magistrate Judge Falk) who is
available to answer any questions about the program.

Any district judge or magistrate judge may refer a civil action to mediation. This may be done
without the consent of the parties. However, the Court encourages parties to confer among
themselves and consent to mediation. Moreover, you are reminded that, when counsel confer
pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and Local Civil Rule 26.1, one
of the topics that must be addressed is the eligibility of a civil action for participation in ADR.

A civil action may be referred to mediation at any time. However, one of the advantages of
mediation is that, if successful, it enables parties to avoid the time and expense of discovery
and trial. Accordingly, the Court encourages parties to consent to mediation prior to or at the
time that automatic disclosures are made pursuant to Rule 26(a)(1) of the Federal Rules of
Civil Procedure.

If parties consent to mediation, they may choose a mediator either from the list of certified
mediators maintained by the Court or by the selection of a private mediator. If a civil action is
referred to mediation without consent of the parties, the judicial officer responsible for
supervision of the program will select the mediator.

Mediation is non-judgmental. The role of the mediator is to assist the parties in reaching a
resolution of their dispute. The parties may confer with the mediator on an ex parte basis.
Anything said to the mediator will be deemed to be confidential and will not be revealed to
another party or to others without the party's consent. The mediator's hourly rate is $300.00,
which is borne equally by the parties.

If you would like further information with regard to the mediation program please review the
Guidelines for Mediation, Appendix Q to the Local Civil Rules. You may also make inquiries
of the judicial officer responsible for supervision of the program.

Civil actions in which there are pro se parties (incarcerated or not) are not eligible for
mediation.




                                                  4
Case 3:20-cv-03289-BRM-ZNQ Document 10 Filed 06/03/20 Page 5 of 7 PageID: 73




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


                                           :
                                           :    Civil Action No.
                                           :
                    Plaintiff(s)           :    Hon.
                                           :
                                           :
             v.                            : JOINT PROPOSED DISCOVERY PLAN
                                           :
                                           :
                                           :
                     Defendant(s)          :
                                           :
                                           :


1.   Set forth the name of each attorney appearing, the firm name, address and telephone
     number and facsimile number of each, designating the party represented.

2.   Set forth a brief description of the case, including the causes of action and defenses
     asserted.

3.   Have settlement discussions taken place? Yes                  No

     (a)   What was plaintiff’s last demand?

            (1)    Monetary demand: $
            (2)    Non-monetary demand:

     (b)   What was defendant’s last offer?

            (1)    Monetary offer: $
            (2)    Non-monetary offer:

4.   The parties [have               have not              ] met pursuant to Fed. R. Civ. P.
     26(f):




                                             1
Case 3:20-cv-03289-BRM-ZNQ Document 10 Filed 06/03/20 Page 6 of 7 PageID: 74



5.   The parties [have          have not           ] exchanged the information required by
     Fed. R. Civ. P. 26(a)(1). If not, state the reason therefor.

6.   Explain any problems in connection with completing the disclosures required by Fed
     R. Civ. P. 26(a)(1)

7.   The parties [have               have not              ] conducted discovery other than
     the above disclosures. If so, describe.

8.   Proposed joint discovery plan:

     (a)    Discovery is needed on the following subjects:

     (b)    Discovery [should                should not                   ] be conducted in phases
            or be limited to particular issues. Explain.

     (c)    Proposed schedule:

            (1) Fed. R. Civ. P. 26 Disclosures                  .

            (2) E-Discovery conference pursuant to L. Civ. R. 26.1(d)                            .

            (3) Service of initial written discovery                  .

            (4) Maximum of            Interrogatories by each party to each other party.

            (5) Maximum of            depositions to be taken by each party.

            (6) Motions to amend or to add parties to be filed by                    .

            (7) Factual discovery to be completed by                  .

            (8) Plaintiff’s expert report due on                      .

            (9) Defendant’s expert report due on                     .

            (10) Expert depositions to be completed by                   .

            (11) Dispositive motions to be served within            days of completion of
             discovery.

     (d)    Set forth any special discovery mechanism or procedure requested.



                                                2
Case 3:20-cv-03289-BRM-ZNQ Document 10 Filed 06/03/20 Page 7 of 7 PageID: 75



       (e)     A pretrial conference may take place on                            .

       (f)     Trial date:                             (       Jury Trial;       Non-Jury Trial).


9.     Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
       problems with out-of-state witnesses or documents, etc)? Yes           No          .
       If so, please explain.

10.    Do you anticipate any issues about disclosure or discovery of electronically stored
       information, including the form or forms in which it should be produced?
       Yes           No          .

       If so, how will electronic discovery or data be disclosed or produced? Describe any
       agreements reached by the parties regarding same, including costs of discovery,
       production, related software, licensing agreements, etc.

11.    Do you anticipate entry of a Discovery Confidentiality Order? See L.Civ.R. 5.3(b)
       and Appendix S.

12.    Do you anticipate any discovery problem(s) not listed above? Describe.
       Yes           No           .

13.    State whether this case is appropriate for voluntary arbitration (pursuant to Local Civil
       Rule 201.1 or otherwise) or mediation (pursuant to Local Civil Rule 301.1 or otherwise).
       If not, explain why and state whether any such procedure may be appropriate at a later
       time (i.e., after exchange of pretrial disclosures, after completion of depositions, after
       disposition or dispositive motions, etc.).

14.    Is this case appropriate for bifurcation? Yes             No

15.    An interim status/settlement conference (with clients in attendance), should be held in
                                                        .

16.    We [do                 do not              ] consent to the trial being conducted by a
       Magistrate Judge.

17.    Identify any other issues to address at the Rule 16 Scheduling Conference.



Attorney(s) for Plaintiff(s) / Date


Attorney(s) for Defendant(s) / Date



                                                 3
